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          Exhibit G
                Case 1:20-cv-02016-MRS            Document 65-2          Filed 03/19/25       Page 2 of 14




From:                Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent:                Thursday, March 13, 2025 3:49 PM
To:                  Tuttle Newman, Jake
Cc:                  Adair, Thomas (CIV); Speth, Charles; Bertoni, Daniel (CIV); Golden, Augustus J. (CIV); Sky Smith;
                     Swabb, Erik F.; Gostin, Isley
Subject:             Re: [EXTERNAL] RE: URS position on schedule extension



EXTERNAL SENDER


Ok, thanks for letting me know.
Ioana



        On Mar 13, 2025, at 3:45 PM, Tuttle Newman, Jake
        <Jacob.TuttleNewman@wilmerhale.com> wrote:


        Ioana –

        We cannot agree to your version of the joint motion for the reasons already stated.

        Jake Tuttle Newman | WilmerHale
        he/him/his
        617.526.6426

        From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
        Sent: Thursday, March 13, 2025 3:24 PM
        To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Adair, Thomas (CIV)
        <Thomas.Adair@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
        <Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
        <sky.smith@emcbc.doe.gov>
        Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
        Subject: RE: URS position on schedule extension

        EXTERNAL SENDER


        Hi Jake,

        The fact remains, we cannot file the motion as it is in its current state. If you agree to file it as we
        most recently sent it to you, that’s great. If not, it looks like we will be filing separate motions.
        Please let me know either way.

        Best,

                                                             1
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__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Thursday, March 13, 2025 3:22 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>;
Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Ioana,

You did agree to include that specific language in the Joint Motion on Tuesday. URS’s offer to agree
to the government’s requested extension was contingent on the government’s agreement “to
include the following language in both the Joint Motion (without the bracketed language) and the
Proposed Order provided to the Court.” You are now saying you did not have the authority to agree
to that condition yet did so anyway.

Your email refers to your “reviewer.” Who is that?

Thanks,
Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Thursday, March 13, 2025 3:10 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Adair, Thomas (CIV)
<Thomas.Adair@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Hi Jake,

When I sent the draft motion to my reviewer, my reviewer said we absolutely cannot agree to that
particular language. I cannot file anything without my reviewer agreeing.

Best,

__________________________________
Ioana C. Meyer
                                                 2
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(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Thursday, March 13, 2025 3:08 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>;
Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Ioana,

The proposed Joint Motion we sent quotes verbatim the language that you agreed to, and which
was a condition of URS’s agreement to the extension requested by the government. You stated,
“we can agree to your proposed language” and then requested additional language, to which URS
agreed and which we included verbatim in the draft. The motion does not include anything to
which the government did not previously explicitly agree.

Did the government lack authorization to agree to the language it agreed to on Tuesday?

Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Thursday, March 13, 2025 2:46 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Adair, Thomas (CIV)
<Thomas.Adair@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Hi Jake,

Thanks, that’s helpful – I had wanted to ask about which number request this was since I wasn’t
sure on that.

I’ve discussed with my leadership and unfortunately we cannot agree to the proposed language.
This is by no means because we intend to seek more time (we also want to move this case along),
but given how the case has gone so far, it would not be prudent to commit to not needing additional
time. We also as a general rule do not ask or tell the court what to include in its orders (besides
protective orders for example).



                                                 3
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We can move forward with the draft we sent, but if this is something that URS cannot agree to, then
we may need to go with separate motions.

Best,

__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Thursday, March 13, 2025 2:37 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>;
Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Hi Ioana,

For ease of reference, attached please find a clean version of the document, and a redline against
the draft you just sent. There are some minor edits beyond the essential ones noted in my prior
email.

We also wanted to note that the language that read: “This is the parties’ second request for a
modification of the scheduling order,” which we have removed, is factually incorrect. This would
be the parties seventh request to extend the scheduling order. See Dkt. Nos. 22, 27, 34, 44, 49, 56.

I am available at the below number if you would like to discuss.

Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Thursday, March 13, 2025 2:08 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Adair, Thomas (CIV)
<Thomas.Adair@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


I’ll need to discuss with my leadership first, I’ll let you know when I’m available.

__________________________________
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Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Thursday, March 13, 2025 2:06 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>;
Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Ioana,

URS cannot agree to your edits that alter the specific language that was the basis upon which URS
agreed to the extension sought by the government. That language must remain as agreed below.

Further, as the parties also agreed to language that would be included in the Proposed Order, to
the extent the government prefers not to file a Proposed Order, the motion will need to include
language requesting the inclusion of that language in the Court’s order.

I will give you a call shortly to follow up, given the time-sensitive nature of this motion.

Thanks,
Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Thursday, March 13, 2025 1:16 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Adair, Thomas (CIV)
<Thomas.Adair@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Hi Jake,

I’ve attached our edits to the motion. We took out the proposed order since Judge Silfen does not
require one and the Court does not ask for proposed orders. We also made a few edits in redline.
Happy to discuss anything.

Best,
__________________________________
Ioana C. Meyer
                                                    5
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(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Wednesday, March 12, 2025 4:20 PM
To: Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>;
Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Hi Tom,

Thanks for the update. Tomorrow will be fine.

Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>
Sent: Wednesday, March 12, 2025 4:15 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Meyer, Ioana C (CIV)
<Ioana.C.Meyer@usdoj.gov>; Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Hi Jake – to manage expectations and provide clear communication, I’m jumping in here. I believe
Ioana is tied up on another matter at the moment. For that reason and the fact that we have certain
processes here before final signoff on filings like the proposed motion, I do not expect we’ll be able
to provide a signoff on that motion at this point today.

Tom

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Wednesday, March 12, 2025 4:02 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Speth, Charles
<Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas
(CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Hi Ioana,

                                                  6
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We just wanted to follow up on this in the hopes of getting it on file today.

Thanks,
Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Tuttle Newman, Jake
Sent: Wednesday, March 12, 2025 9:41 AM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Speth, Charles
<Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas
(CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

Thanks very much.

For the avoidance of doubt, all of the other dates match what is reflected in your email below (the
counting error was only for that one date) and maintain the prior spacing between deadlines.

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Wednesday, March 12, 2025 9:34 AM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Speth, Charles
<Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas
(CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Thanks, we will take a look and get back to you with any edits.

__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent: Wednesday, March 12, 2025 9:28 AM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Speth, Charles
<Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>; Adair, Thomas
(CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV) <Augustus.J.Golden@usdoj.gov>; Smith, Sky
                                                    7
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<sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Hi Ioana,

Attached please find a draft Joint Motion seeking a schedule extension.

One note: In your email suggesting a 10-week extension below, the extended deadline you
proposed you listed for the close of fact discovery was May 30, but ten weeks after March 14 is May
23. We assume that was just a counting error, and have used May 23 in the attached so that all of
the other time periods remain the same.

Please let us know if you have any edits and we can get this on file today.

Thanks,
Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Tuesday, March 11, 2025 7:36 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Great, thanks. I’ll keep an eye out for that draft.

__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Tuesday, March 11, 2025 7:35 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: [EXTERNAL] Re: URS position on schedule extension



                                                      8
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Ioana - this is acceptable to URS. We will prepare a joint motion and proposed order.
Thanks very much.

Get Outlook for iOS

From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Tuesday, March 11, 2025 6:46:00 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Charlie,

We agree to extend the entire schedule by 10 weeks, though we dispute your characterization of
our request for an extension as a delay, or that any other discovery difficulties have been for the
purposes of delaying this case.

Additionally, we can agree to your proposed language, as long as we also include in the joint
motion the following language: “Both parties agree provide proposed deposition dates for the
remaining depositions no later than March 21, 2025, and to cooperate in scheduling those
depositions, including proposing alternate dates if proposed dates do not work for the other party.”

Best,
__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov

From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Tuesday, March 11, 2025 6:38 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Ioana,

The schedule we proposed is entirely reasonable and beyond what we believe is necessary to
conclude fact discovery in this case. It causes significant concern on my client’s part that the
government’s request for a schedule extension—on the heels of multiple prior extensions and
years of delay in completing document production—will be followed by another (and perhaps
another) such request. That cannot happen.

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Therefore, we will agree to the schedule you have proposed below, which extends the entire case
schedule by 10 weeks, as long as the government agrees to include the following language in both
the Joint Motion (without the bracketed language) and the Proposed Order provided to the
Court: “Neither party will seek[, and this Court will not grant,] any further extensions to the below
schedule for any reason, except on the basis of unforeseen, extraordinary circumstances, and in
such circumstances the extension will be no greater than strictly necessary to allow for those
circumstances to be addressed.”

We also expect that the government will approach all forthcoming deadlines with a sense of
urgency. If this proposal is agreeable to the government, we can send around a proposed Joint
Motion.

Charlie



From: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>
Sent: Tuesday, March 11, 2025 3:22 PM
To: Speth, Charles <Charles.Speth@wilmerhale.com>; Bertoni, Daniel (CIV) <Daniel.Bertoni@usdoj.gov>;
Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: RE: URS position on schedule extension

EXTERNAL SENDER


Charlie,

Thanks for the call and for sending us your proposal. I’ve discussed with my team and our experts
to get their input. Unfortunately, your proposed schedule just is not possible for us. The experts
need all of the time they already have allotted for digesting the facts of the case and additional
depositions, as well as for their rebuttal reports.

We do propose that instead of extending the entire schedule by 12 weeks, we extend it by 10 weeks
(approximately a deposition a week), which would give us the following dates:

   1. Close of fact discovery due by 3/14/2025 => May 30, 2025
   2. Exchange of expert reports due by 5/9/2025 => July 18, 2025
   3. Exchange of rebuttal expert reports due by 7/3/2025 => September 12, 2025
   4. Close of expert discovery due by 8/29/2025 => November 7, 2025

Considering there’s no trial date set, and the only deadlines following the close of expert discovery
are for the parties to discuss settlement and to file a JSR regarding next steps/dates, this would give
us the necessary time to complete all discovery without delaying any trial date (for example).

Best,
__________________________________
Ioana C. Meyer
(202) 305-0001
Ioana.C.Meyer@usdoj.gov
                                                  10
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From: Speth, Charles <Charles.Speth@wilmerhale.com>
Sent: Tuesday, March 11, 2025 2:29 PM
To: Meyer, Ioana C (CIV) <Ioana.C.Meyer@usdoj.gov>; Bertoni, Daniel (CIV)
<Daniel.Bertoni@usdoj.gov>; Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: [EXTERNAL] RE: URS position on schedule extension

Ioana:

Following up on our call, as we discussed, we’re hoping we can come to an agreement on
the schedule that does not involve pushing back the current August 29, 2025 deadline for
the close of expert discovery (and thus avoids extending the overall case schedule, which
is our biggest concern). Here is our current proposal of a schedule that would extend fact
discovery by six weeks but keep the August 29, 2025 deadline. We think that six weeks is
more than sufficient to conduct all remaining fact depositions in the case. Please let us
know if this schedule is acceptable to you, or if you have a counter proposal that would
also maintain the August 29, 2025 deadline for the close of expert discovery (for example,
by moving the close of fact discovery deadline below back additional weeks).
    1. Close of fact discovery due by 3/14/2025 => April 25, 2025
    2. Exchange of expert reports due by 5/9/2025 => May 23, 2025
    3. Exchange of rebuttal expert reports due by 7/3/2025 => July 11, 2025
    4. Close of expert discovery due by 8/29/2025.

Thank you.

From: Speth, Charles
Sent: Monday, March 10, 2025 5:30 PM
To: Meyer, Ioana C (CIV) <ioana.c.meyer@usdoj.gov>; Bertoni, Daniel (CIV) <daniel.bertoni@usdoj.gov>;
Adair, Thomas (CIV) <Thomas.Adair@usdoj.gov>; Golden, Augustus J. (CIV)
<Augustus.J.Golden@usdoj.gov>; Smith, Sky <sky.smith@emcbc.doe.gov>
Cc: Swabb, Erik F. <Erik.Swabb@wilmerhale.com>; Gostin, Isley <Isley.Gostin@wilmerhale.com>; Tuttle
Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Subject: URS position on schedule extension

Ioana,

You requested today a 12-week extension of the discovery schedule. URS is willing to agree to a
short (e.g., 3-week) extension of the close of fact discovery provided the government expressly
agrees that the date for the close of expert discovery will remain August 29, 2025. URS is willing to
extend the date for expert reports by two weeks (from May 9, 2025 to May 23, 2025) and rebuttal
expert reports by one week (from July 3, 2025 to July 11, 2025) provided, again, the close of expert
discovery remains August 29, 2025.

URS believes that this offer is more than reasonable given the government’s repeated delay of this
action, including, for example:



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    1. On January 30, URS offered to conduct the deposition of the URS 30(b)(6) during the week
         of March 10, but the government refused that offer without providing any justification.
    2. On January 30, URS offered to conduct Mr. Gavin’s deposition on February 19 or 20, but the
         government refused that proposal because there was another deposition that might occur
         on the same day (even though four different DOJ lawyers have taken or defended
         depositions in this case). URS sought the government’s availability during the week of
         March 10 four times without a response. URS asked (1) on February 5; no response; (2) on
         February 11, specifically proposing that Mr. Gavin’s deposition be held that week; (3) on
         February 24; and (4) on February 27, at which point the government responded by
         proposing a date for Mr. Gavin’s deposition outside the fact discovery window.
    3.   On February 11, after the government stated—without explanation—that a 30(b)(6) witness
         for the Naval Reactors’ topics was not available until the week of March 17 (which was after
         the close of fact discovery), the government offered the dates of March 18, 19, 20, or
         21. Despite URS accepting those dates on February 11, the government later (on February
         25) unilaterally and without explanation sought to postpone that deposition until March 25.
    4.   On February 11, the government requested an 8-week extension of the discovery
         period. Since that time, the government has declined and/or postponed the depositions of
         several witnesses, as set forth above.
    5.   Prior to February 11, the government chose to designate as trial witnesses multiple
         individuals who recalled virtually nothing about the underlying facts and thus are unable to
         serve as competent witnesses.
    6.   The government has refused to respond to URS’s repeated requests for DOE’s positions
         related to clawbacks and parties, as necessary to complete depositions effectively.
    7.   The government was responsible for years-long delay to this case based on its late
         production of documents.

Notwithstanding that the government has been the cause of substantial delay, URS believes that
the parties can work together to effectively reduce the number of outstanding potential trial
witnesses and remaining fact depositions and to complete fact depositions by April 11. For
example, URS is willing to withdraw as designated trial witnesses certain individuals that it has
identified if the Government likewise withdraws trial witnesses that it has identified (e.g., Tom
Cochran, Craig Anderson, and/or Karl Axelson). In addition, URS believes that the parties can and
should conduct multiple depositions in a week to accomplish any outstanding fact depositions.

Please let me know if it makes sense to discuss.


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